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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-01313-RM-NYW

  JENNIFER HORAL, a Colorado resident,

  Plaintiff,

  v.

  IHR, INC. D/B/A MIKE WARD INFINITI,
    a Colorado corporation,

  Defendant.
  ______________________________________________________________________________

                RESPONSE TO MOTION FOR SUMMARY JUDGMENT
  ______________________________________________________________________________

          Plaintiff, Jennifer Horal (“Ms. Horal”), through counsel, submits the following response to

  Defendant, IHR, Inc.’s (IHR”) Motion for Summary Judgment (“Motion”).

          The salient facts in this case are:

  •    On September 6, 2016, Ms. Horal began working for IHR as a member of the sales staff for

       the Mike Ward Maserati dealership. (Plt. Resp. to UMF#4; Plt. Resp. to UMF#9; see also Plt.

       Resp. to UMF#1).

  •    Shortly after she began working for IHR, Ms. Horal executed an employment agreement

       guaranteeing her a salary of $3,000 per month for her first three months of employment. (Plt.

       Resp. to UMF#5). Ms. Horal was told by her supervisor, Robert Thumel, and by a Human

       Resources representative, that she was being offered the guaranteed salary for the first three

       months because she would be receiving her training during that period and was not expected

       to sell a lot of vehicles. (Plt. Resp. to UMF#5; Plt. Resp. to UMF#7). After the three month



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      period, Ms. Horal was told, her salary would be commission and bonuses only. (Plt. Resp. to

      UMF#5).

  •   The first three weeks of Ms. Horal’s employment, she received computer training and product

      training. She received virtually no one-on-one training on the appointment system known as

      VIN solutions, and had little understanding of how IHR processed deals. (Plt. Resp. to

      UMF#5).

  •   On October 7, 2016, the General Manager of the Mike Ward Infiniti dealership, Peter Kim,

      conducted a meeting for sales managers and consultants from all of the Mike Ward dealerships.

      (UMF#12, #13) As part of a team building exercise, the sales force was divided into teams and

      played “Family Feud.” (UMF#13).

  •   During that game, the following question was posed: “What does someone need to do (other

      than work harder) in order to get a promotion at work?” (UMF#13).

  •   The top answer given by Mr. Kim was either “sleeping with” or “dating” the boss. (Plt. Resp.

      to UMF#14).

  •   IHR’s Employee Handbook prohibits employees from “dating” or “sleeping with” their “boss.”

      (Plt. Resp. to UMF#14).

  •   Ms. Horal was offended by the top answer, and complained about it to Mike Ward, the dealer

      principal of the Mike Ward dealerships, on October 10, 2016; and to Peter Kim on October 17,

      2016. (Plt. Resp. to UMF#15; Plt. Resp. to UMF#24).

  •   After her complaint to Mike Ward, Ms. Horal noticed a few of her male colleagues giving her

      disapproving looks as they walked by her office. One of her colleagues even shook his head

      at Ms. Horal as he peered into her office. (Plt.’s UMF#3).



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  •    On October 21, 2016, all of the sales consultants were required to enter into a new

       Compensation Plan that significantly altered the terms of employment for most of them. (Plt.

       Resp. to UMF#25). In particular, the “revised” Plan for the first time imposed a minimum

       number of vehicles sales for consultants to sell after the three-month training and trial period.

       (Id.) The revised Compensation Plan did not immediately apply to Ms. Horal, as she was still

       in her training and trial period. (Id.; Plt. Resp. to UMF#26).

  •    After her complaint to Mike Ward, sales managers stopped sending Ms. Horal leads (as they

       had done previously), which severely limited the available sales opportunities for her. (Plt.’s

       UMF#4).

  •    Eleven days later, on November 1, 2016 – twenty-two days after Ms. Horal complained about

       the “sleeping with/dating the boss” statement, and more than a month before the end of her

       three month training and trial period – Ms. Horal’s employment was terminated, purportedly

       for poor sales performance. (UMF#40; Plt. Resp. to UMF#41).

  I.      THE SUMMARY JUDGMENT STANDARD FOR A RETALIATION CLAIM.

          In Twigg v. Hawker Beechcraft Corp., 659 F.3d 987, 998 (10th Cir. 2011), the Tenth

  Circuit set forth the standard for ruling on a summary judgment motion in the absence of direct

  evidence of retaliation:

          If the plaintiff cannot directly establish that retaliation played a motivating part in
          the employment decision, she may instead rely on the three-part framework
          established in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), to prove
          retaliation indirectly. Under the McDonnell Douglas/indirect approach, the plaintiff
          must first make out a prima facie case of retaliation by showing “(1) that [s]he
          engaged in protected opposition to discrimination, (2) that a reasonable employee
          would have found the challenged action materially adverse, and (3) that a causal
          connection existed between the protected activity and the materially adverse
          action.” Somoza v. Univ. of Denver, 513 F.3d 1206, 1212 (10th Cir. 2008) (internal
          quotation marks omitted). If the plaintiff establishes a prima facie case, the


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         employer must then offer a legitimate, nonretaliatory reason for its decision. Id. at
         1211. Finally, once the employer has satisfied this burden of production, the
         plaintiff must show that the employer's reason is merely a pretext for retaliation. Id.

  (Citations and parallel citations omitted.) As with all summary judgment motions, when ruling on

  a summary judgment motion applicable to a retaliation claim, courts must view “the factual record

  and reasonable inferences therefrom in the light most favorable to the party opposing the motion.”

  Mayo v. Fowler Fitness, Inc., 111 Fed. Appx. 69, 70 (10th Cir. 2004) (quoting Sealock v. Colorado,

  218 F.3d 1205, 1209 (10th Cir. 2000)).

         As shown below, Ms. Horal has set forth facts establishing a prima facie case of retaliation,

  IHR has advanced a supposedly legitimate, nonretaliatory reason for its actions, and Ms. Horal has

  shown that the reason given by IHR was “merely a pretext for retaliation.” Thus, under the

  McDonnell Douglas test, the Motion should be denied.

  II.    IHR DOES NOT CONTEST THAT THE RELEVANT FACTS ESTABLISH A
         PRIMA FACIE CASE OF RETALIATION AGAINST MS. HORAL.

         In its Motion, IHR concedes that the averments set forth above by Ms. Horal (and sworn

  to in her affidavit) are sufficient to establish a prima facie case of retaliation. (See Mot. at 9.)

  Despite this concession, IHR misstates the law on temporal proximity, that is, the closeness in time

  between a protected action and an adverse action. According to IHR, “temporal proximity alone

  is generally insufficient to justify an inference of causation in most cases.” (Mot. at 9 (citing

  Conner v. Schnuck Markets, Inc., 121 F. 3d 1390, 1395 (10th Cir. 1997).) 1 The Tenth Circuit

  Court of Appeals has held exactly the opposite. See, e.g., Trujillo v. Pacificorp., 524 F.3d 1149,


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   Additionally, the case cited by IHR does not support its argument. Conner states: “We have
  held that ‘[t]he causal connection may be demonstrated by evidence of circumstances that justify
  an inference of retaliatory motive, such as protected conduct closely followed by adverse
  action.’ ” Conner, 121 F.3d at 1395 (citations omitted) (emphasis added).


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  1158 n.5 (10th Cir. 2008) (“In fact, in the context of retaliation claims, we have permitted plaintiffs

  to establish a prima facie case of discrimination by showing only close proximity in time between

  a protected activity and an adverse action.”) (citing Annett v. Univ. of Kan., 371 F.3d 1233, 1239–

  40 (10th Cir.2004); see also E.E.O.C. v. PVNF, L.L.C., 487 F.3d 790, 804 (10th Cir. 2007); Argo

  v. Blue Cross & Blue Shield of Kan., Inc., 452 F.3d 1193, 1202 (10th Cir. 2006). Because the time

  between Ms. Horal’s complaint and her discharge was only twenty-two days, it cannot seriously

  be disputed that she has established a prima facie case of retaliation based on temporal proximity.

  III.   IHR PURPORTED “LEGITIMATE, NON-DISCRIMINATORY REASON” FOR
         DISCHARGING MS. HORAL IS PRETEXTUAL.

         In the Motion, IHR argues that it has articulated a legitimate, nondiscriminatory reason for

  the decision to terminate Ms. Horal’s employment: “poor performance in selling only 3 vehicles

  in two months.” (Mot. at 6.) Assuming that this proffered reason satisfies IHR’s burden, Ms. Horal

  must present sufficient evidence that, viewed in a light most favorable to her, would permit a jury

  to find that IHR’s reason for its action was a pretext for discrimination. “Pretext may be

  demonstrated by revealing ‘weaknesses, implausibilities, inconsistencies, incoherencies, or

  contradictions in the employer's proffered legitimate reasons for its action [such] that a reasonable

  fact finder could rationally find them unworthy of credence and hence infer that the employer did

  not act for the asserted non-discriminatory reasons.” Robinson v. Dean Foods Co., 654 F. Supp.

  2d 1268, 1281-82 (D. Colo. 2009) (quoting Morales v. McKesson Health Solutions, LLC, 136 Fed.

  Appx. 115, 118 (10th Cir. 2005)). “Other ‘[e]vidence of pretext may include, but is not limited to

  ... prior treatment of plaintiff; the employer’s policy and practice regarding [female] employment

  (including statistical data); disturbing procedural irregularities (e.g., falsifying or manipulating

  hiring criteria); and the use of subjective criteria.’ ” Leyba v. City of Santa Fe, 1999 WL 35808922,


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  at *2 (D.N.M. Sept. 8, 1999) (quoting Simms v. Okla. ex rel. Dept. of Mental Health and Substance

  Abuse Servs., 165 F.3d 1321, 1328 (10th Cir. 1999), overruled on other grounds, Nat'l R.R.

  Passenger Corp. v. Morgan, 536 U.S. 101 (2002)). “When assessing whether plaintiff has made

  an appropriate showing of pretext, [a court] must consider the evidence as a whole.” Danville v.

  Regional Lab Corp., 292 F.3d 1246, 1250 (10th Cir. 2002).

          Here, numerous facts show “weaknesses, implausibilities, inconsistencies, incoherencies,

  or contradictions” that would permit a jury to find that the reason given for Ms. Horal’s discharge

  – poor performance – is pretextual.

          A.      Although Not Dispositive, the Fact that Ms. Horal Was Fired Twenty-Two
                  Days After Her Complaint Is Evidence of Pretext.

          The first evidence that the reason given for Ms. Horal’s termination – poor performance –

  was pretextual is the short time frame (twenty-two days) between Ms. Horal’s complaint and her

  discharge. As this Court stated in Pathak v. Fedex Trade Networks T and B Inc., 329 F. Supp. 3d

  1263, 1287 (D. Colo. 2019), although temporal proximity is “not sufficient by itself to establish

  pretext, the temporal proximity between [an employee’s] protected conduct and h[er] retaliation is

  highly probative of pretext.” See also Hysten v. Burlington Northern Santa Fe Ry. Co., 372 F.

  Supp. 2d 1246, 1257 (D. Kan. 2005) (“The Tenth Circuit has clearly stated in multiple opinions

  that temporal proximity gives rise to an inference of retaliation but that it is not sufficient—

  standing alone—to raise a genuine issue of pretext.”); Pastran v. K-Mart Corp., 210 F.3d 1201,

  1206 (10th Cir. 2000) (“Close temporal proximity between the employee’s complaint and the

  adverse employment action is a factor in determining whether the employer’s proffered reason is

  a pretext for retaliation.”).

          B.      The Timing of Ms. Horal’s Discharge, and Its Inconsistency With the


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                 Structured Training and Trial Period at IHR, Is Also Evidence that the Given
                 Reason for Her Discharge Was Pretextual.

         The temporal proximity between Ms. Horal’ complaint and her discharge is not the only

  “timing issue” that shows the supposed reason for firing Ms. Horal was pretextual. The short time

  Ms. Horal was employed by IHR, slightly less than two months – particularly when considered

  within the context of the IHR’s three month training and trial program – also shows that the excuse

  of poor performance given for her discharge was pretextual. IHR’s dealerships, like other

  dealerships (see Plt. Resp. to UMF#5), has a training and trial period for its new sales consultants.

  During this grace period – three-months at IHR at the time Ms. Horal worked for it – new sales

  employees such as Ms. Horal were not expected to sell a lot of vehicles, for at least three reasons,

  First, during that three-month period, Ms. Horal would need to be trained. She needed training on

  the computer system and software used by IHR and Maserati, and she required product training on

  the vehicles she would be selling. (Plt. Resp. to UMF#5; Plt. Resp. to UMF#7). This product

  training was especially important for new sales employees because Maserati vehicles are not run-

  of-the-mill automobiles; at the time Ms. Horal was working for IHR, the new vehicle prices started

  at more than $70,000, with most of the vehicles manufactured by Maserati costing more than

  $100,000. (Plt. Resp. to UMF#5). Similarly, potential buyers would be different from the buyers

  at, for instance, AutoNation Jeep West (where Ms. Horal had previously worked). (Id.) As a result,

  Ms. Horal needed to learn (among many other things) about the financing systems used by IHR,

  and the financial qualifications for potential Maserati buyers. (Plt. Resp. to UMF#5). Further, Ms.

  Horal required training on the appointment system known as VIN solutions, so she could

  understand the internal processes and procedures used by IHR to process deals. Training on, and

  then actually learning, about the various products and systems was time consuming the first few


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  weeks, which took away from time to sell vehicles. (Plt. Resp. to UMF#5).

         Second, the process for selling automobiles – commonly referred to funneling – is a long-

  term process. Imagine the process for selling automobiles as a funnel. (Plt. Resp. to UMF#10). At

  the large end of the funnel are all of the possible buyers of a vehicle. These people include those

  who come to the store without any advance notice; those who call into the store and make

  appointments; friends and acquaintances of the sales consultant; potential buyers who have made

  Internet inquiries; interested buyers who have been referred to a specific sales consultant by a

  previous buyer; potential buyers developed through marketing to select groups, such as doctors,

  lawyers, and entrepreneurs; and others. (Id.) As these potential buyers move through the funnel,

  many of them are eliminated; they are not financially able to buy a Maserati, they are not interested

  in the lifestyle represented by the Maserati, they think a Maserati is too expensive, their spouses

  object to the expenditure, and so and on. (Id.) Ultimately, only a few potential buyers go all the

  way through the funnel and purchase a vehicle. The ability to sell vehicles, therefore, requires a

  constant supply of potential buyers to fill up the funnel. And finding these potential buyers takes

  time, particularly early on. (Id.)

         Third, IHR’s Maserati store presented particular challenges during the time Ms. Horal

  began working. Because the Maserati dealership was brand new, it did not have an established

  customer base for the vehicles Ms. Horal was selling. (Plt.’s UMF#7). Additionally, because the

  Maserati dealership had just opened its doors – as Ms. Horal stated in her deposition, “They were

  just moving their boxes in when I started” (id.), things were in disarray. (Id.) For instance, although

  Ms. Horal had an office, she had no computer when she began, and she had to find another

  computer even to log into the system. (Id.) These and many other challenges impaired news sales



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  employees’ ability to sell vehicles the first few months they worked there. Accordingly, IHR’s

  training and trial program created a three-month grace period for new sales employees during

  which they were not judged because they had low sales. The termination of Ms. Horal for poor

  performance before she had even worked there for two months is inconsistent with IHR’s

  employment structure for new sales consultants.

         How would Ms. Horal have known that she would not be judged on her sales the first three

  months she worked at IHR? First, she was told that. Ms. Horal began working for IHR on

  September 6, 2016, the Tuesday after Labor Day. Even before she started working for IHR, Ms.

  Horal was told, both by her supervisor, Robert Thumel, and by a representative of the Human

  Resources Department, Laura Sandberg, that the dealership did not expect her to sell, and would

  not be concerned if she did not sell, many Maserati vehicles during the three-month trial and

  training period. (Plt. Resp. to UMF#5). Rather, Ms. Horal should focus, particularly the first

  month or two, on learning and understanding the process used by the Maserati dealership to sell

  vehicles. (Id.) This representation by IHR managers is inconsistent with, and contrary to, Ms.

  Horal’s discharge after she worked at IHR for less than two months.

         Second, IHR’s own compensation agreements show that it did not expect new sales

  consultants to sell a significant number of vehicles the first three months of their employment.

  Shortly after Ms. Horal was hired in September 2016, she and IHR entered into a Compensation

  Plan (“First Plan”) and a Compensation Plan Addendum (“First Addendum”). The First Addendum

  established a payment plan, unique to new sales consultants, that “guaranteed a minimum

  compensation of $3,000 per month” during the first three months. (First Addendum at 1.) As was

  explained to Ms. Horal, and as she understood from her past experience selling motor vehicles, the



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   purpose of the three-month guaranteed compensation package was to pay sales consultants an

   amount that would allow them to meet some or all of their living expenses during the training and

   trail period, and specifically to compensate new sales consultants for the fact that they needed time

   to get up to speed at the Maserati store, and it would take time to begin selling Maserati vehicles.

   (Plt. Resp. to UMF#5; Plt. Resp. to UMF#7). And although IHR altered its First Plan on or about

   October 21, 2016, it did not alter in any way the First Addendum’s guarantee to new sales

   consultants of a minimum compensation of $3,000 a month for the first three months of

   employment. (Plt. Resp. to UMF#25).

          Third, when IHR put in place a new Compensation Plan on or about October 21, 2016, it

   imposed minimum tri-monthly sales quotas for its sales consultants of “18 units combined for the

   most recent 3 month period, on an ongoing basis” (Second Plan at 1). 2 The imposition of these

   quotas, however, did not apply to sales consultants during the training and trial period; IHR

   expressly exempted sales by new sales consultants during the first three month of employment.

   (See id. at 1 (minimum sales requirement began “[a]fter 3 months of employment”); see also id.

   “[E]xample: If you are hired on February 1, you will be held to the [minimum sales] requirement

   beginning with the May-July three month period.” Thus, although IHR created a new

   compensation plan that required a minimum number of sales (over a rolling three month period),

   it also recognized that during the first three months they worked, new sales consultants could not


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     IHR’s Second Plan states that “[f]ailure to meet the minimum volume requirement will result in
   termination unless an exception is granted by the General Manager due to extenuating
   circumstances,” (Second Plan at 1.) Despite this, Ms. Horal has identified at least seven employees
   who did not meet the minimum number of sales over a three month period but were not discharged.
   Indeed, five of the seven are still employed by IHR, and the other two resigned voluntarily months
   after their failures to meet the requisite minimum number of sales. (See Plt. Resp. to UMF#25; Plt.
   Resp. to UMF#26.)


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   be expected to meet the Compensation Plan’s minimum sales requirement. Thus, IHR’s own

   Compensation Plans demonstrate that IHR’s policy was not to discharge a sales consultant based

   on his or her sales performance the first three months of employment. IHR’s discharge of Ms.

   Horal, supposedly for poor performance in the vehicle she sold between September 6, 2016 and

   October 31, 2016, therefore, is inconsistent with, and contrary to, its own policy.

          C.      The Fact that Other Employees With Similar Sales Numbers Were Not Fired
                  Is Inconsistent with IHR’s Supposed Reason for Discharging Ms. Horal.

          In its Motion, IHR asserts as “established fact that all other Sales Consultants over the last

   almost six years who performed as poorly as Plaintiff did in September and October of 2016, were

   either terminated or resigned . . . .” (Mot. at 12.) This is easily disproven by looking at one of the

   male sales consultants – Tyler Kalil – who began working at IHR around the same time as. Ms.

   Horal began. Ms. Horal worked from September 6, 2016 through October 31, 2016. Ms. Horal

   sold one vehicle in September 2016, and two vehicles in October 2016, for a total of three vehicles

   during that one and three-quarters months. (Mot. at 1; Plt. Resp. to UMF#27; Plt. Resp. to

   UMF#28). Mr. Kalil began work on August 8, 2016, and he sold two vehicles in August 2016 and

   two vehicles in September 2016, for a total of four sales. (Plt. Resp. to UMF#27). Thus, he sold

   one vehicle more than Ms. Horal during an essentially identical two month period of time. 3 Yet

   he was not fired; in fact, he work for IHR until December 15, 2017, more than a year after his

   training and trial period, when he voluntarily resigned.

          Moreover, IHR can only maintain its pretense that Ms. Horal’s sales were worse than other

   sales consultants only by misstating Ms. Horal’s starting date. As can be seen from sales


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     Nor did he show a marked improvement his third month; he sold two vehicles in October 2016.
   (See Plt. Resp. to UMF#27).


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   information provided by IHR, it IHR calculates sales made by beginning sales consultants by

   dividing the periods of time into (a) mo. of hire; (b) 1st mo.; (c) 2nd mo.; and (d) 3rd mo. (See

   e.g., Plt. Resp. to UMF#27) (showing names of employees, hire and termination dates, and sales).)

   It then states that Ms. Horal’s hire date was 08/29/2016; and that Ms. Horal sold zero vehicles in

   her month of hire, sold one vehicle in her first month, and two vehicles in her second month. (Id.)

   But the date Ms. Horal actually started working for IHR was September 6, 2016. (Plt. Resp. to

   UMF#4; Plt. Resp. to UMF#9). She could not have started working earlier because she had plans,

   made months earlier, to go with friends to Telluride Film Festival, which ran from Friday,

   September 2, 2016, to Monday, September 5, 2016. (Plt. Resp. to UMF#4; see

   https://www.telluridefilmfestival.org/news (stating that “Telluride Film Festival takes place

   Friday, September 2 - Monday, September 5, 2016.”). Ms. Horal specifically recalls telling

   managers at the Maserati dealership that she could not start work until September 6, 2016. (Plt.

   Resp. to UMF#4; Plt. Resp. to UMF#9). She went to the Film Festival, and started working the

   day after Labor Day weekend. 4 (Id.) Thus, the calculation of Ms. Horal’s sales should be that she

   sold one vehicles in her month of hire (September 2016), sold two vehicle in her first full month

   (October 2016), and then was fired before she could sell vehicles in her second full month. And

   if her sales are calculated with her correct start date, then several sales consultants with sales that

   were similar to, or even less than, Ms. Horal’s sales during the month of hire and the first full

   month were allowed to continue working. (See, e.g., Plt. Resp. to UMF#27 (numbers during month

   of hire and first full month for Banegas, Ricardo A. (3.0); Gianopoulos, Brandon G. (2.0); Glenn,


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    Ms. Horal recalls going to the dealership and filling out paperwork the week before Labor Day,
   but she did not actually begin work until September 6, 2016, the Tuesday after Labor Day. (Plt.
   Resp. to UMF#4).


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   David A. (0.0); Haak, Richard J. (3.5); Hildestad, Loren C. (3.0); Kalil, Tyler A. (4.0); Miller,

   Barbra Rose (1.0); Seymour, Michael S. (1.0); Shankland, Robert J. (1.5); Von Bank, Thomas

   D.(3.0).) None of these sales consultants was fired after their month of hire and first full month of

   sales, as Ms. Horal was, even though most of them had the same or fewer sales than Ms. Horal

   did. Thus, the excuse given for Ms. Horal’s discharge – poor performance – is inconsistent with

   the fact that IHR did not fire other sales consultants with similar, identical, or worse, sales during

   the same period of time: the month of hire and the first full month.

          IHR may try to argue that, with respect to the sales consultants identified in the preceding

   paragraph, they may have had low sales their month of hire and first full month of work, but many

   of them had excellent sales their second full month of work. (See, e.g. Plt. Resp. to UMF#27,

   Banegas, Ricardo A. (10.5 sales second full month); Gianopoulos, Brandon G. (10 sales second

   full month).) But this proves the point that new sales consultants should not be, and absent some

   illegitimate reason are not, judged based on their sales the first month or two, as they will not

   typically sell a substantial number of motor vehicles immediately. As Ms. Horal has attested to in

   her Affidavit:

          “Not every potential buyer purchases a car at the first meeting. In fact, with luxury
          and performance vehicles like Maseratis, most buyers did not purchase the car
          immediately. When I was fired, I had approximately a dozen potential purchasers
          with whom I was still fully engaged, providing information for, and setting up “be
          back appointments” for November 2016. To gauge my performance after I had
          been working for less than two months is preposterous.

   (Plt. Resp. to UMF#10). In sum, had Ms. Horal been given the chance to work a second and third

   full month, as other sales consultants were, and as was IHR’s standard practice, she would have

   had the opportunity to sell a substantial number of vehicles for IHR. The fact that she was not

   given that chance can only be attributed to retaliation for objecting to sexual harassment.


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          D.      IHR’s Attempt to Compare Ms. Horal with Juliann Leach Illustrates the
                  Weaknesses and Implausibilities with IHR Supposed Reason for Firing Ms.
                  Horal.

          In its Motion, IHR attempts to show that its discharge of Ms. Horal was not in retaliation

   for her complaint about the Family Feud game but was about sales by purporting to compare Ms.

   Horal’s treatment with the treatment of Juliana Leach, the other female IHR employee who was

   present at the Family Feud game and who complained about the sleeping with/dating the boss

   comment. IHR argues that because Ms. Horal and Ms. Leach both complained about the game,

   and Ms. Horal was fired but Ms. Leach was not, Ms. Horal’s complaint could not have been the

   reason for her discharge. The reason for the different treatment, therefore – IHR continues – must

   have been the difference in sales by the two women.

          IHR’s attempt to compare the two women fails completely both with respect to their

   complaints and with respect to their sales. First, the complaints made to IHR by the two women

   differed significantly. Following the Family Feud game, Ms. Leach complained to her manager,

   Pat Corbitt who was, in her words, “kind of my -- my protector, I will say, in the organization . . .

   . [H]e kind of sponsor[ed] me as a friend there . . . .” (Plt. Resp. to UMF#22); see also id. (“I felt

   like [the male sales associates] were kind of watching there for me to fail. But, like I said, Pat

   Corbitt was so supportive. . . . And he was always looking for my back for some reason.”). Ms.

   Leach described her discussion with Mr. Corbitt as follows:

          He asked me if I wanted to address [her complaint] with somebody else. And I felt
          that Pat kind of calmed me down, and said, “[L]isten, Juliana, this is just a game.·
          It's nothing into it between lines.· Don't worry.· It was just a game.” And I -- I'm
          not a person to create problems, you know. So I just, in my mind, said, okay, just
          let it go, you know, move on, continue.

   (Plt. Resp. to UMF#22) (“This [Family Feud game] ma[d]e me feel very uncomfortable, very



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   uncomfortable.· I never understood the purpose.· But Pat Corbitt calmed me down.· He said it's

   okay.· Don't worry.· He asked me, you want to proceed doing this. And I’m like, you know, forget

   it. I’m not going – I’m not going to waste more time doing this, because I need to sell cars.”)

   Although Mr. Corbitt communicated Ms. Leach’s complaint by email to Mike Ward on October

   11, 2016, Mr. Corbitt made it clear that the matter was closed. He wrote:

          Juliana stated she was satisfied with Pat[‘]s explanation and felt relieved th[at] there
          was no messages being sent. When asked if she need to talk with anyone else about
          the issue, she stated no she was fine and wanted to go to work, thank you for
          listening and reassuring me that nothing was intended with the answers to the sales
          meeting question. It just made her feel very uncomfortable.

   (Plt. Resp. to UMF#22).

          The path taken by Ms. Horal was very different. Ms. Horal knew that Ms. Leach had

   complained to Pat Corbitt on October 8, 2016, the day after as the Family Feud game. (Plt. Resp.

   to UMF#22). Ms. Horal, however, spoke to no one in management the day of the game, or over

   the weekend. On the following Monday, October 10, 2016, Ms. Horal approached Mike Ward

   (the Dealer Principal and General Manager of the Mike Ward Infiniti, Alfa Romeo, Fiat, and

   Maserati dealerships), and asked if she could speak with him. She then told him about the last

   question and top answer in the Family Feud game, and how uncomfortable it had made her and

   Juliana Leach in the sales meeting. Ms. Horal said that Ms. Leach had complained to her sales

   manager, Pat Corbitt, about the incident. Mike Ward was “actually surprised” when Ms. Horal

   mentioned Ms. Leach’s complaint because as of October 10, 2016, Mike Ward “didn't even know

   that Juliana [Leach] raised a concern with Pat Corbitt.” (Plt.’s UMF#6). In response, Mike Ward

   wrote an apology to Ms. Horal, and stating that he had talked with Peter Kim (the general manager

   of the Infiniti dealership, who had put on the Family Feud game), who also apologized. Mike Ward



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   also said that “[w]hen Peter gets back from vacation he will be happy to sit down with you and

   listen to your concerns.” (See UMF#16; Plt. Resp. to UMF#17). Ms. Horal responded, stating: I

   realize much of what I am saying was already discussed in our meeting but I feel it is important to

   speak my truth in writing for Peter to see as well. I will look forward to meeting with Peter. In

   hindsight, I do in fact have some questions I would like to ask him.” (Plt. Resp. to UMF#17).

          On October 17, 2016, Ms. Horal met with Mr. Kim, Mr. Ward (who came late to the

   meeting), and Laura Sandberg (a Human Resources representative). During that meeting, before

   Mr. Ward arrived, Ms. Horal and Mr. Kim discussed the Family Feud incident, and then whether

   a woman had “ever had any woman hold a sales manager or finance manager position before?”

   While that question was being discussed, Mr. Ward arrived, and the tenor changed immediately.

   Rather than discussing the Family Feud incident, Mr. Ward aggressively attacked Ms. Horal on

   several matters, including her temerity to discuss the Family Feud matter with other employees,

   her conversations with other sales consultants about her personal life, her sales record, and other

   supposed failings. (See Plt. Resp. to UMF#24).

          These Notes show that after Ms. Horal’s complaint to Mr. Ward, he made extensive efforts

   to gather information, not for the purpose of eliminating sexual harassment in the workplace or for

   addressing Ms. Horal’s concerns, but for the purpose of developing excuses to fire Ms. Horal.

   Indeed, the Notes can be construed as a focused effort by Mr. Ward to dig up dirt on Ms. Horal.

   Accordingly, the Notes reveal that Ms. Horal’s and Ms. Leach’s circumstances were quite

   different: simply put, Ms. Horal made waves and Ms. Leach did not.

          IHR’s attempt to compare the vehicle sales of Ms. Leach and Ms. Horal is also fatally

   flawed for the simple reason that they sold very different kinds of vehicles. Ms. Horal sold



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   Maseratis and Ms. Leach sold Infinitis. As Ms. Leach explained:

          Selling Maseratis is very different than selling a regular car, because it's a car that
          is over $100,000.· Of course, the clients, they need to know more about the cars,
          specifics, and things like that. And – and the way that the Maserati dealership runs
          is very different to the way that the Infiniti runs, because in the Maserati [dealership
          are] rich people·coming inside, drinking coffee, looking at the cars. It's not like in
          Infiniti that a client – a customer comes, and it's a bunch of salespersons waiting to
          see who is going to catch who. So she was telling me that she didn't receive that
          many sales calls.· She was all the time complaining to me that, because they have
          this calling that you need to kind of distribute fairly the calls. And she mention to
          me that she barely receive any calls.

   (Plt. Resp. to UMF#29). Moreover, Ms. Leach found a niche for herself at the Infiniti dealership

   by selling used Infinitis (and other used vehicles), not new Maseratis. As Ms. Leach testified, the

   two are very different:

          Q.       How long after you started with the dealership did you actually start selling
          cars?
          A.       I don't recall, but, actually, I was – I did pretty good for my experience. I –
          I think that I performed really good.
          I didn't perform really good with new cars, with the ones that are new, because – I
          don’t know – when the customers arrive to the dealership, and you have a lot of
          solid men sales representatives there, it's kind of like trying to fight, you know, for
          the -- for the customer in a very subtle way, but I think that I – I performed good.
          I mean, every time I approach a client – I – I felt that I performed good.· I – I –
          yeah. But, like I said, selling used cars, people already kind of know what they
          want, and basically you just take them to the test drive, but they already investigate
          on that car, that's why they are there. So it's much easier selling a car that way then
          when you have to convince a person to choose an Infiniti over a Mercedes, or over
          a BMW, or -- or even a Maserati over a Lamborghini, because then you really need
          – you need to know exactly what you're talking about.·

   (Plt. Resp. to UMF#29).

          To summarize, IHR’s attempt to compare Ms. Horal’s vehicle sales, and her treatment after

   complaining about the Family Feud game, with the sales and treatment of Juliana Leach, is fatally

   flawed. The situations surrounding their respective complaints, and the circumstances involving

   their respective sales, are too different to allow a legitimate comparison.


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          E.      Ms. Horal’s Low Sales Were Due in Part to the Fact that the Maserati
                  Dealership Sabotaged Her Sales Efforts.

          IHR’s supposed reason for firing Ms. Horal – poor sales performance – is also pretextual

   because IHR was itself at least partially responsible for Ms. Horal’s low sales. After Ms. Horal

   complained about the Family Feud game on October 10, 2016, sales managers stopped sending

   Ms. Horal sales leads, as they had previously been doing. (Plt.’s UMF#4; see also Plt. Resp. to

   UMF#29.) 5 Without these sales leads, it was very difficult for Ms. Horal to generate new sales

   leads. Additionally, after her complaint to Mr. Ward, her telephone suddenly stopped working and

   it took almost a full week before it was repaired or turned back on. (See e.g., Plt. Resp. to

   UMF#44). Again, her ability to sell Maserati vehicles was greatly impaired by the lack of available

   selling tools. (Id.; Plt.’s UMF#4). Finally, other sales consultants began ostracizing her. After her

   complaint to Mike Ward, some of Ms. Horal’s her male colleagues gave her disapproving looks

   as they walked by her office, and one of her colleagues shook his head at Ms. Horal as he peered

   into her office. (Plt.’s UMF#3). These actions or inactions collectively impaired Ms. Horal’s

   ability be a member of the sales team, and to sell Maserati vehicles successfully.

          F.      IHR’s Subjective Criticisms of Ms. Horal Fail to Provide a Legitimate Reason
                  for Her Termination.

   5
     In his Declaration, Ms. Horal’s immediate supervisor, Robert Thumel, states that he “reviewed a
   printout of Ms. Horal’s performance for her two months of employment with Mike Ward Maserati,
   which showed that she had received 33 leads, including 15 walk-ins, 10 telephone leads, and 8
   internet leads, yet only sold 3 vehicles.” Declaration of Robert Thumel ¶ 6 (Ex. G to Mot.) Ms.
   Horal contests these numbers as inflated; in particular the number of Internet leads is wrong
   because Ms. Horal never worked Internet leads. (Plt. Resp. to UMF#30). But even if these numbers
   were accurate, they ignore the fact that Ms. Horal ” had approximately a dozen potential purchasers
   with whom [she] was still fully engaged, providing information for, and setting up be back
   appointments for November 2016. (Id.) Further, without knowing when these leads were given to
   Ms. Horal – before or after her complaint to Mike Ward – and how many leads were given to the
   other sales consultants, these numbers fail to rebut Ms. Horal’s sworn statement that “sales
   managers stopped sending Ms. Horal sales leads after she complained to Mike Ward.


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          The evidence set forth above, viewed in a light most favorable to Ms. Horal, demonstrates

   a material issue of fact about whether IHR’s discharge of Ms. Horal was pretextual. In a desperate

   attempt to obscure that fact, IHR attempts to smear Ms. Horal by resorting to the old subjective

   chestnut that Ms. Horal’s was a bad worker. IHR asserts that based on his “observations,” Mr.

   Thumel “did not believe” Ms. Horal “was making any effort to sell vehicles or that she was even

   engaged in the process.” (Mot. at 6.) Mr. Thumel criticizes Ms. Horal for being “frequently on her

   cell phone (Id.), and also concocts a story in which he supposedly “observed her decline a new

   customer offered by another Sales Consultant, indicating that she didn’t need to sell anything

   because she was “on a guarantee.” (Id.)

          “Courts view with skepticism subjective evaluation methods” such as the ones here.

   Garrett v. Hewlett-Packard Co., 305 F.3d 1210, 1218 (10th Cir. 2002) (and cases cited therein);

   Martin v. AT&T Corp., 331 F.Supp.2d 1274, 1297 (D. Colo. 2004). Indeed, the use of subjective

   evidence may itself be evidence of pretext. See, e.g., Bergene v. Salt River Project Agric.

   Improvement & Power Dist., 272 F.3d 1136, 1142 (9th Cir. 2001) (“Against the background of the

   other evidence of pretext, the subjective nature of these criteria provides further circumstantial

   evidence that SRP denied Bergene the promotion as a form of retaliation . . . .”) This skepticism

   of subjective evaluations is warranted because there is no objective way to evaluate the assertions,

   and thus a jury could rationally reject them. In fact, Mr. Thumel’s assertions are a classic example

   of improper subjective evaluations; Ms. Horal has no way to prove them false other than to deny

   emphatically the allegations. Ms. Horal unequivocally denies that she did not “make any effort

   (or only made a minimal effort), to sell vehicles; or that she was not engaged in the process. (Plt.

   Resp. to UMF#34). She also denies that she was on her cell phone an excessive amount, although


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   she was forced to use her cell when her office phone stopped working. And she emphatically denies

   as false Mr. Thumel’s story that Ms. Horal turned down helping a new customer because she was

   on a guarantee. Plainly put, that is a vicious lie. (Id.)

                                              CONCLUSION

           For the reasons set forth above, Jennifer Horal requests the Court to deny IHR’s motion

   for summary judgment.

           Respectfully submitted this 23rd day of May, 2019.

                                                           ANDERSON BARKLEY, LLC

                                                           A duly signed copy is on file at the
                                                           offices of Anderson Barkley, LLC

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 23rd day of May, 2019, a true and correct copy of the foregoing
   was served via CM/ECF on:

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